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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9
      UNITED STATES OF AMERICA,

10
                             Plaintiff,
                                                                  Case No. CR13-54RSL
11
                     v.

12
      SOPHAL LIM,                                                 ORDER DENYING MOTION FOR
                                                                  MODIFICATION OF SENTENCE
13
                             Defendant.                           PURSUANT TO 18 U.S.C. § 3582

14
            This matter comes before the Court on defendant’s pro se motion for modification of his
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     sentence pursuant to 18 U.S.C. § 3582,1 Dkt. # 245, which the government opposes, Dkt. # 250.
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     Having reviewed the parties’ briefing and the relevant record, the Court DENIES the motion for
17
     the reasons that follow.
18
            In September 2013, defendant Sophal Lim pleaded guilty to various counts related to a
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     conspiracy to manufacture marijuana. Dkt. # 96. On December 9, 2013, the Court sentenced
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     defendant to 60 months’ imprisonment, the mandatory minimum, followed by four years of
21
     supervised release. Dkt. ## 150, 171. On December 8, 2014, defendant moved to reduce his
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     sentence pursuant to 18 U.S.C. § 3582 on the basis of Amendment 782 to the United States
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     Sentencing Guidelines; the Court denied this motion in June 2015, Dkt. # 242.
24

25          1
              Though defendant’s motion is captioned “Pro Se Motion for Modification of Sentence Pursuant
26   to 18 U.S.C. § 3582" and appears to request relief under that provision, the body of his motion cites only
     18 U.S.C. § 3621. The Court analyzes defendant’s motion as a request for relief under 18 U.S.C.
27   § 3582.
28   ORDER - 1
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 1          On January 17, 2017, defendant filed this motion to modify his sentence under 18 U.S.C.
 2   § 3582. That provision authorizes courts to reduce a previously imposed sentence in light of
 3   “extraordinary and compelling reasons” warranting such a reduction, the defendant’s advanced
 4   age, or subsequent amendments to the Sentencing Guidelines. In his current motion, defendant
 5   does not appear to request a sentence reduction; rather, defendant asks the Court to grant him
 6   twelve months in a halfway house, followed by six months of home confinement, so that
 7   defendant can take advantage of computer training and career guidance available at the halfway
 8   house. Dkt. # 245.
 9          As the government points out, defendant has cited no legal authority suggesting that he
10   may obtain this relief pursuant to 18 U.S.C. § 3582, but defendant may nonetheless be able to
11   obtain some of the support he seeks once he is released from custody (anticipated in June 2018).
12   Specifically, defendant has been sentenced to a four-year term of supervised release, which will
13   begin when he is released from custody and will require an assigned probation officer to work
14   with defendant as he transitions back into society. When defendant begins his term of
15   supervised release, he may discuss his need for computer training and other assistance with his
16   probation officer, and the probation officer may request a modification of the terms of
17   defendant’s supervised release to help achieve defendant’s employment goals, if necessary.
18   Consideration of defendant’s requests at this time, however, is premature.
19

20          Accordingly, defendant’s motion is DENIED.
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22          DATED this 23rd day of March, 2017.
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24                                             A
                                               Robert S. Lasnik
25                                             United States District Judge
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28   ORDER - 2
